                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,
               Plaintiff,

       v.                                               Case No. 05-CR-95

WILLIE McMILLON
                     Defendant.


                                DECISION AND ORDER

       On March 14, 2006, I sentenced defendant Willie McMillon to 70 months

imprisonment on his guilty plea to conspiracy to distribute five kilograms or more of

cocaine.1 Defendant has now filed a motion to reduce his sentence under 18 U.S.C. §

3582. Defendant states that he has maintained clear conduct and earned numerous prison

programming certificates, which he attaches to his motion. He asks for a downward

departure in his sentence based on his rehabilitative efforts.

       While defendant’s efforts are commendable, they provide no lawful basis for a

sentence reduction. Section 3582(c) sets forth the circumstances under which a sentence

of imprisonment may be modified. Section 3582(c)(1) allows a reduction on the motion of

the director of the Bureau of Prisons based on extraordinary reasons or the defendant’s

advanced age. The Director has not filed such a motion in this case. The court may on a

defendant’s motion reduce a sentence under § 3582(c)(2) if the Sentencing Commission

has amended the sentencing guidelines, lowering the range under which the defendant was

sentenced, and made the amendment retroactive. U.S.S.G. § 1B1.10 cmt. n.1(A). The


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       Because defendant qualified for the safety valve, I was able to impose sentence
below the otherwise applicable ten year mandatory minimum. Defendant’s 70 month
sentence was at the low end of his advisory guideline range.
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Commission recently lowered crack cocaine sentences and made that amendment

retroactive, but defendant’s case involved powder cocaine only. Defendant cites no other

guideline amendment that might apply. Therefore, § 3582(c)(2) provides no basis for

reducing his sentence. The court may not on a defendant’s motion reduce a sentence long

after its imposition based solely on rehabilitation in prison. United States v. Grant, Cr. No.

C-00-114, 2007 WL 3283682, at *1 (S.D. Tex. Nov. 6, 2007) (noting the limited

circumstances under which the court may reduce a sentence under 18 U.S.C. § 3582 and

Fed. R. Crim. P. 35, and that post-sentencing rehabilitation and exemplary prison conduct

are not included); see also Romandine v. United States, 206 F.3d 731, 735 (7th Cir. 2000)

(noting that Rule 35 strictly limits a judge’s ability to revisit a sentence).

       THEREFORE, IT IS ORDERED that defendant’s motion (R. 72) is DENIED.

       Dated at Milwaukee, Wisconsin, this 27th day of March, 2008.


                                            /s Lynn Adelman
                                            _______________________________________
                                            LYNN ADELMAN
                                            District Judge




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